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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                  CASE NO.: 0:22-cv-60450-RS

  MARCELIN LIBERAL, individually, and
  on behalf of all others similarly situated,

               Plaintiff,

  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC and MEMORIAL
  REGIONAL HOSPITAL SOUTH
  AUXILIARY, INC.,

           Defendants.
  _______________________________/

                           TRIAL WITNESS LIST
          OF DEFENDANT HEALTHCARE REVENUE RECOVERY GROUP, LLC

          COMES NOW Defendant Healthcare Revenue Recovery Group, LLC (“HRRG”) in

 compliance with the Court’s Order Setting Civil Trial Date, Pretrial Deadlines and Referral to

 Majistrate [sic] Judge [DE 19], and files its Trial Witness List as follows:

       1) Marcelin Liberal
          c/o Alexander J. Taylor, Esquire
          and Mohammed O. Badwan, Esquire
          Sulaiman Law Group, LTD
          2500 South Highland Avenue, Suite 200
          Lombard, IL 60148

       2) Representative of Healthcare Revenue Recovery Group, LLC
          c/o Ernest H. Kohlmyer, III, Esquire
          Shepard, Smith, Kohlmyer & Hand, P.A.
          2300 Maitland Center Parkway, Suite 100
          Maitland, FL 32751

       3) Representative of Defendant Memorial Regional Hospital South Auxiliary, Inc., to be
          called if necessary.
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    4) Representative of Inphynet South Broward. LLC, to be called if necessary.

    5) Any witnesses identified or called by Plaintiff.

    6) Any witnesses identified or called by Co-Defendant, Memorial Regional Hospital South
       Auxiliary, Inc.

    7) Any impeachment or rebuttal witnesses, to be called if necessary.


 Dated this 18th day of November 2022.


                                             Respectfully submitted,


                                             /s/ Mary Grace Dyleski________
                                             Ernest H. Kohlmyer, III
                                             Florida Bar No.: 110108
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                                             Mary Grace Dyleski
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                                             Maitland, Florida 32751
                                             Tel: 407-622-1772
                                             Fax: 407-622-1884
                                             Attorneys for Defendant Healthcare Revenue
                                             Recovery Group, LLC




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                              CERTIFICATE OF SERVICE

        I HEREBY that a copy of the foregoing has been electronically filed on November 18,

 2022 via the Court’s CMECF E-filing Portal and that a copy was furnished by electronic

 transmission to:

 Alexander J. Taylor, Esquire
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 mbadwan@sulaimanlaw.com
 Attorneys for Plaintiff

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